Case 4:09-cr-00043-SPF Document 412 Filed in USDC ND/OK on 07/26/10 Page 1 of 1
                                        OFFICE OF THE CLERK
                              UNITED STATES DISTRICT COURT
Phil Lombardi                         Northern District of Oklahoma                    Telephone (918) 699-4700
Clerk of Court                      411 UNITED STATES COURTHOUSE                             Fax (918) 699-4756
                                          333 W est Fourth Street
                                       Tulsa, Oklahoma 74103-3819

                                             July 26, 2010

Clerk of Court
Tenth Circuit Court of Appeals
1823 Stout Street
Denver, Colorado 80257



IN RE:             Case No.:              09-CR-43-SPF
                   10th Circuit Case No.: 10-5055 and 10-5057
                   Plaintiff:             USA
                   Defendant:             Lindsey Kent Springer, Oscar Amos Stilley


Dear Clerk of Court,

          Enclosed herewith is the electronic record on appeal.
          If there is anything further needed, please do not hesitate to contact me.



                                                        Very truly yours,

                                                        Phil Lombardi, Clerk of Court

                                                             s/ S. Turner

                                                        By: S. Turner, Deputy Clerk


Enclosures: VOLUME I             Docket Sheet and Public Pleadings (Volumes I of III, II of III, and III
                                 of III)
                 VOLUME II       Transcripts (unlocked green) - #114, #115
                 VOLUME III      Restricted Transcripts - #382, #383, #384, #385, #386, #387, #388,
                                 #389, #390, #391, #392, #393, #394, #395, #396, #397, #398, #399,
                                 #400, #401
                 VOLUME IV       Sealed Pleadings (#1, #3, #46, #75, #78, #79, #88, #89, #103, #113,
                                 #172, #174, #180, #224, #257, #258, #260, #261, #263, #320, #345,
                                 #365)
 cc: All counsel of record
    (With Docket Sheet/Index)



                                                                                                  AP-02 (09/08)
